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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

ALEXIA STEVENS, individually and on behalf
of similarly situated persons,

                      Plaintiff,
                                                         Case No. _____________
        v.
                                                         Jury Demanded
PIZZA BRAKE INC. d/b/a DOMINO'S
PIZZA, and STUART BJERKE, individually,

                      Defendants.


                                    ORIGINAL COMPLAINT

    Plaintiff Alexia Stevens (“Plaintiff”), individually and on behalf of all other similarly situated

 delivery drivers, brings this Complaint against Defendants Pizza Brake Inc. d/b/a Domino’s Pizza

 and Stuart Bjerke (collectively “Defendants”), and alleges as follows:

        1.       Defendants operate numerous Domino’s Pizza franchise stores. Defendants employ

 delivery drivers who use their own automobiles to deliver pizzas and other food items to their

 customers. However, instead of reimbursing delivery drivers for the reasonably approximate costs

 of the business use of their vehicles, Defendants use a flawed method to determine reimbursement

 rates that provides such an unreasonably low rate beneath any reasonable approximation of the

 expenses they incur that the drivers’ unreimbursed expenses cause their wages to fall below the

 federal minimum wage during some or all workweeks.

        2.       Plaintiff brings this lawsuit as a collective action under the Fair Labor Standards

 Act (“FLSA”), 29 U.S.C. § 201 et seq., to recover unpaid minimum wages and overtime hours

 owed to himself and similarly situated delivery drivers employed by Defendants at their Domino’s

 Pizza stores.
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                                         Jurisdiction and Venue

        3.      The FLSA authorizes court actions by private parties to recover damages for

violations of its wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claim is based on 29

U.S.C. § 216(b) and 28 U.S.C. § 1331 (federal question).

        4.      Venue in this District is proper under 28 U.S.C. § 1391 because Plaintiff resides in

this District, Defendants employed Plaintiff in this District, Defendants operate Domino’s Pizza

franchise stores in this District, and a substantial part of the events giving rise to the claims herein

occurred in this District.

                                                Parties

        5.      Defendant Pizza Brake Inc. d/b/a Domino’s Pizza is authorized to conduct business

and is conducting business in the State of Iowa and may be served via its registered agent, Chantha

Bjerke, at 5 Sawgrass Trail Ottumwa, IA 52501, or wherever they may be found.

        6.      Defendant Stuart Bjerke is individually liable because, during the relevant times,

he was an owner of substantial interests in Defendant, served as officer of the entity, and held

managerial responsibilities and substantial control over terms and conditions of drivers’ work as

they held the power to hire and fire, supervised and controlled work schedules and/or conditions

of employment, determined rates and methods of pay and/or expense reimbursements, and

maintained employment records and/or held control over employment records. Defendant Stuart

Bjerke may be served at 5 Sawgrass Trail Ottumwa, IA 52501, or wherever he may be found.

        7.      Plaintiff was employed by Defendants from approximately March 2019 until July

2021 as a delivery driver at Defendants’ Domino’s Pizza store located in North Liberty, Iowa,

which is located within this District.




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       8.      Plaintiff’s consent to pursue this claim under the FLSA is attached to this Original

Complaint as “Exhibit 1.”

                                        General Allegations

                                       Defendants’ Business

       9.      Defendants own and operate numerous Domino’s Pizza franchise stores, including

stores within this District and this Division.

       10.     Defendants’ Domino’s Pizza stores employ delivery drivers who all have the same

primary job duty: to deliver pizzas and other food items to customers’ homes or workplaces.

                     Defendants’ Flawed Automobile Reimbursement Policy

       11.     Defendants require their delivery drivers to maintain and pay for safe, legally-

operable, and insured automobiles when delivering pizzas and other food items.

       12.     Defendants’ delivery drivers incur costs for gasoline, vehicle parts and fluids, repair

and maintenance services, insurance, depreciation, and other expenses (“automobile expenses”)

while delivering pizzas and other food items for the primary benefit of Defendants.

       13.     Defendants’ delivery driver reimbursement policy reimburses drivers on a per-mile

basis, but the per-mile reimbursement equates to below the IRS business mileage reimbursement

rate or any other reasonable approximation of the cost to own and operate a motor vehicle. This

policy applies to all of Defendants’ delivery drivers.

       14.     The result of Defendants’ delivery driver reimbursement policy is a reimbursement

of much less than a reasonable approximation of its drivers’ automobile expenses.

       15.     During the applicable FLSA limitations period, the IRS business mileage

reimbursement rate ranged between $.545 and $.58 per mile. Likewise, reputable companies that

study the cost of owning and operating a motor vehicle and/or reasonable reimbursement rates,



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including AAA, have determined that the average cost of owning and operating a vehicle ranged

between $.532 and $.571 per mile between 2016 and 2018 for drivers who drive a sedan 15,000

miles per year. These figures represent a reasonable approximation of the average cost of owning

and operating a vehicle for business use.

       16.     The driving conditions associated with the pizza delivery business cause even more

frequent and higher maintenance costs and more rapid depreciation from driving as much as, and

in the manner of, a delivery driver. Defendants’ delivery drivers experience lower gas mileage and

higher repair costs than the average driver used in the above calculations. The nature of the delivery

business includes frequent starting and stopping of the engine, frequent braking, short routes as

opposed to highway driving, and driving under time pressures.

       17.     Defendants’ reimbursement policy does not reimburse delivery drivers for even

their ongoing out-of-pocket expenses, much less other costs they incur to own and operate their

vehicle, and thus Defendants uniformly fail to reimburse their delivery drivers at any reasonable

approximation of the cost of owning and operating their vehicles for Defendants’ benefit.

       18.     Defendants’ systematic failure to adequately reimburse automobile expenses

constitutes a “kickback” to Defendants such that the hourly wages paid to Plaintiff and Defendants’

other delivery drivers are not paid free and clear of all outstanding obligations to Defendants.

       19.     Defendants fail to reasonably approximate the amount of their drivers’ automobile

expenses to such an extent that their drivers’ net wages are diminished beneath the federal

minimum wage requirements.

       20.     In sum, Defendants’ reimbursement policy fails to reflect the realities of delivery

drivers’ automobile expenses.




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                   Defendants’ Failure to Reasonably Reimburse Automobile
                         Expenses Causes Minimum Wage Violations

       21.      Regardless of the precise amount of the per-mile reimbursement at any given point

in time, Defendants’ reimbursement formula has resulted in an unreasonable underestimation of

delivery drivers’ automobile expenses throughout the recovery period, causing systematic

violations of the federal minimum wage.

       22.      Plaintiff was paid $7.25 per hour while making deliveries for Defendants, including

a tip credit applicable to the time she performed deliveries.

       23.      The federal minimum wage has been $7.25 per hour since July 24, 2009.

       24.      During the time Plaintiff worked for Defendants as a delivery driver, she was

reimbursed just $.20 per mile.

       25.      Plaintiff’s average round trip delivery distance was approximately 10 miles.

       26.      During Plaintiff’s employment, the IRS business mileage reimbursement rate

ranged between $.545 and $.58 per mile, which reasonably approximated the automobile

expenses incurred delivering pizzas. http://www.irs.gov/Tax-Professionals/Standard-Mileage-

Rates. Using the lowest IRS rate per mile driven in effect during that period as a reasonable

approximation of Plaintiff’s automobile expenses, every mile driven on the job decreased her net

wages by at least $0.345 ($.545 - $.20) per mile.

       27.      During her employment by Defendants, Plaintiff averaged about 2 or more

deliveries per hour worked.

       28.      Thus, every hour on the job decreased Plaintiff’s net wages by approximately $6.90

($.345 per mile x 2 deliveries/hour x 10 miles/delivery = $6.90), resulting in a net hourly wage

rate of approximately $.35 ($7.25 nominal hourly pay rate - $6.90 per hour “kickback” = $.35 net

hourly wage).


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       29.     All of Defendants’ delivery drivers had similar experiences to those of Plaintiff.

They were subject to the same reimbursement policy; received similar reimbursements; incurred

similar automobile expenses; completed deliveries of similar distances and at similar frequencies;

and were paid at or near the federal minimum wage before deducting unreimbursed business

expenses.

       30.     Because Defendants paid their drivers a gross hourly wage at or above the federal

minimum wage, and because the delivery drivers incurred unreimbursed automobile expenses, the

delivery drivers “kicked back” to Defendants an amount sufficient to cause minimum wage

violations.

       31.     While the amount of Defendants’ actual reimbursements per mile may vary over

time, Defendants are relying on the same flawed policy and methodology with respect to all

delivery drivers at all of their other Domino’s Pizza stores. Thus, although reimbursement amounts

may differ somewhat by time or region, the amounts of under-reimbursements relative to

automobile costs incurred are relatively consistent between time and region.

       32.     Defendants’ low reimbursement rates were a frequent complaint of Defendants’

delivery drivers, yet Defendants continued to reimburse at a rate much less than any reasonable

approximation of delivery drivers’ automobile expenses.

       33.     The net effect of Defendants’ flawed reimbursement policy is that Defendants have

willfully failed to pay the federal minimum wage to their delivery drivers. Defendants thereby

enjoy ill-gained profits at the expense of their employees.

                                      Collective Action Allegations

       34.     Plaintiff brings this FLSA claim as an “opt-in” collective action on behalf of

similarly situated delivery drivers pursuant to 29 U.S.C. § 216(b).



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       35.     The FLSA claims may be pursued by those who opt-in to this case pursuant to 29

U.S.C. § 216(b).

       36.     Plaintiff, individually and on behalf of other similarly situated employees, seeks

relief on a collective basis challenging Defendants’ practice of failing to pay employees the federal

minimum wage. The number and identity of other plaintiffs yet to opt-in may be ascertained from

Defendants’ records, and potential class members may be notified of the pendency of this action

via mail and electronic means.

       37.     Plaintiff and all of Defendants’ delivery drivers are similarly situated in that:

               a.      They have worked as delivery drivers for Defendants delivering pizzas and

                       other food items to Defendants’ customers;

               b.      They have delivered pizzas and other food items using automobiles not

                       owned or maintained by Defendants;

               c.      Defendants required them to maintain these automobiles in a safe, legally-

                       operable, and insured condition;

               d.      They incurred costs for automobile expenses while delivering pizzas and

                       food items for the primary benefit of Defendants;

               e.      They were subject to similar driving conditions, automobile expenses,

                       delivery distances, and delivery frequencies;

               f.      They were subject to the same pay policies and practices of Defendants;

               g.      They were subject to the same delivery driver reimbursement policy that

                       underestimates automobile expenses per mile, and thereby were

                       systematically deprived of reasonably approximate reimbursements,




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                         resulting in wages below the federal minimum wage in some or all

                         workweeks;

               h.        They were reimbursed similar set amounts of automobile expenses per

                         delivery; and

               i.        They were paid at or near the federal minimum wage before deducting

                         unreimbursed business expenses.

                    Count I: Violation of the Fair Labor Standards Act of 1938

       38.     Plaintiff reasserts and re-alleges the allegations set forth above.

       39.     The FLSA regulates, among other things, the payment of minimum wage by

employers whose employees are engaged in interstate commerce, or engaged in the production of

goods for commerce, or employed in an enterprise engaged in commerce or in the production of

goods for commerce. 29 U.S.C. §206(a).

       40.     Defendants are subject to the FLSA’s minimum wage requirements because

Defendant Pizza Brake Inc. is an enterprise engaged in interstate commerce, and their employees

are engaged in commerce.

       41.     At all relevant times herein, Plaintiff and all other similarly situated delivery drivers

have been entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. §§

201, et seq.

       42.     Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain categories of

employees from federal minimum wage obligations. None of the FLSA exemptions apply to

Plaintiff or other similarly situated delivery drivers.

       43.     Under Section 6 of the FLSA, codified at 29 U.S.C. § 206, employees have been

entitled to be compensated at a rate of at least $7.25 per hour since July 24, 2009.



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       44.     As alleged herein, Defendants have reimbursed delivery drivers less than the

reasonably approximate amount of their automobile expenses to such an extent that it diminishes

these employees’ wages beneath the federal minimum wage.

       45.     Defendants knew or should have known that their pay and reimbursement policies

and practices would result in a failure to compensate delivery drivers at the federal minimum wage.

       46.     Defendants, pursuant to their policies and practices, violated the FLSA by refusing

and failing to pay federal minimum wage to Plaintiff and other similarly situated employees.

       47.     Plaintiff and all similarly situated delivery drivers are victims of a uniform and

employer-based compensation and reimbursement policy. This uniform policy, in violation of the

FLSA, has been applied, and continues to be applied, to all delivery driver employees in

Defendants’ Domino’s Pizza stores.

       48.     Plaintiff and all similarly situated employees are entitled to damages equal to the

minimum wage minus actual wages received after deducting reasonably approximated automobile

expenses within three years from the date each Plaintiff joins this case, plus periods of equitable

tolling, because Defendants acted willfully, or at least demonstrated reckless disregard for whether

their conduct was unlawful.

       49.     Defendants have acted neither in good faith nor with reasonable grounds to believe

that their actions and omissions were not a violation of the FLSA, and as a result, Plaintiff and

other similarly situated employees are entitled to recover an award of liquidated damages in an

amount equal to the amount of unpaid minimum wages under 29 U.S.C. § 216(b). Alternatively,

should the Court find Defendants not liable for liquidated damages, Plaintiff and all similarly

situated employees are entitled to an award of prejudgment interest at the applicable legal rate.




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         50.     As a result of the aforesaid willful violations of the FLSA’s minimum wage

provisions, minimum wage compensation has been unlawfully withheld by Defendants from

Plaintiff and all similarly situated employees. Accordingly, Defendants are liable under 29 U.S.C.

§ 216(b), together with an additional amount as liquidated damages, pre-judgment and post-

judgment interest, reasonable attorneys’ fees, and costs of this action.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs and the Putative Plaintiffs collectively pray that this Honorable

Court:

         1.      Issue an Order certifying this action as a collective action under the FLSA and

         designate the above Plaintiff as representative of all those similarly situated under the

         FLSA collective action;

         2.      Award Plaintiff and the Putative Plaintiffs actual damages for unpaid wages and

         liquidated damages equal in amount to the unpaid compensation found due to Plaintiff and

         the class as provided by the FLSA, U.S.C. § 216(b);

         3.      Award Plaintiff and the Putative Plaintiffs pre- and post-judgment interest at the

         statutory rate pursuant to the FLSA, U.S.C. § 216(b);

         4.      Award Plaintiff and the Putative Plaintiffs attorneys’ fees, costs, and disbursements

         pursuant to the FLSA, 29 U.S.C. § 216(b); and

         5.      Award Plaintiff and the Putative Plaintiffs further legal and equitable relief as this

         Court deems necessary, just, and proper.

                                        Demand for Jury Trial

         Plaintiff hereby requests a trial by jury of all issues triable by jury.




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                                                    Respectfully submitted,

                                                 /s/ Harley C. Erbe_______
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                                                    ATTORNEYS FOR PLAINTIFFS



                                CERTIFICATE OF SERVICE

       Service will be made on Defendants with summons to be issued by the clerk according to

the Federal Rules of Civil Procedure.


                                                    /s/ Harley C. Erbe
                                                    Harley C. Erbe




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